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  Michael James Ross
  P.O. Box 847
  Alloway, NJ 08001
  609-217-8143


                       THE UNITED STATES DISTRICT COURT                       RECEIVED
                        FOR THE DISTRICT OF NEW JERSEY
                                                                                    FEB 2? 2015
  MICHAEL J. ROSS                                      Case No.             f,T 8:30                M
                                                                                 V!lll 1AM T. WALSH
                                                                                        CLEAK
                        Plaintiff                                 CIVIL ACTION

                            -v-                                COMPLAINT AND
                                                              FOR TRIAL BY JURY

  HAYT, HAYT & LANDAU, LLC                            (Unlawful Debt Collection Practices)
  KENNETH HAYES
  CHRISTOPHER J. FOX
  JANE & JOHN DOES 1-10; Employees
  of HAYT, HAYT & LANDAU, LLC

                        Defendant(s)


  Michael James Ross                                     LAW OFFICE OF
  P.O. Box 847                                           HAYT, HAYT& LANDAU, LLC
  Alloway, NJ 08001                                      TWO INDUSTRIAL WAY WEST
  609-217-8143                                            P.O. BOX500
                                                         EATONTOWN, NJ 07724-0500
                                                         (732) 544 - 9080



                                    VERIFIED COMPLAINT

         Now comes, Plaintiff MICHAEL J. ROSS ("Plaintiff'), and for his Verified Complaint

  makes the following claim against the above named Defendants, Law Office of HAYT, HAYT

  & LANDAU, LLC (hereinafter "HAYT"), KENNETH HAYES, CHRISTOPHER J. FOX and

  JANE & JOHN DOES, and employees/agents of HAYT:




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                                             INTRODUCTION

             1. Plaintiff brings this action for damage arising from the Defendants' violations of the

                Fair Debt Collection Practices Act (FDCPA) 15 U.S.C. § 1692 et seq., and the Fair

                Credit Reporting Act (FCRA) 15 U.S.C. §1681 et seq.



                                           JURISDICTION AND VENUE


             2. Jurisdiction of this Court arises pursuant to 15 U.S.C. §1692 k(d), 15 U.S.C. §168lp

                and 28 U.S.C. §1331.

             3. Defendant(s) conduct business here and have an office in the state of New Jersey and

                as such, personal jurisdiction is established.

             4. Venue is proper pursuant to 28 U.S.C. §1391(b)(l)



                                                 PARTIES


             5. Plaintiff is a natural person living in Alloway, New Jersey.

             6. Plaintiff is a "consumer" as that term is defined by 15 U.S.C. § 1692a(3).

             7. Defendant HAYT is a debt collection company with its principle place of business

                located at Two Industrial Way West, Eatontown, NJ 07724-0500.

             8. At all relevant times, Defendant HAYT acted as a "debt collector" as defined by 15

                U.S. C. § 1692a(6) and repeatedly contacted the Plaintiff in an attempt to collect a

                "debt" as defined by 15 U.S.C. §1692a(5).




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       9. Defendant KENNETH HAYES, an attorney of HAYT is a "debt collector" as defined

          by 15 U.S.C. §1692a(6) and repeatedly contacted the Plaintiff in an attempt to collect

          a "debt" as defined by 15 U.S.C. §1692a(5).

       10. Defendant CHRISTOPHER J. FOX, an attorney of HAYT is a "debt collector" as

          defined by 15 U.S.C. §1692a(6) and repeatedly contacted the Plaintiff in an attempt to

          collect a "debt" as defined by 15 U.S.C. §1692a(5).

       11. Defendant JANE and JOHN DOES are natural person(s) who were employed by

          HAYT as collection agents, whose identities are currently unknown to Plaintiff.

          Defendant JANE and JOHN DOES are "debt collectors" as that term is defined by 15

          U.S.C. §1692a(6). One or more of the collection agents may be joined as parties once

          their identities are disclosed through discovery.

       12. Defendant HAYT acted through its agents, employees, officers, members, directors,

          heirs, successors, assigns, principles, trustees, sureties, subrogees, representatives and

          msurers.


                               PRELIMINARY STATEMENT

       13. Plaintiff brings this action for damages arising from Defendant(s) violations of: (1)

          the FDCPA 15 U.S.C. § 1692d et seq. which prohibits debt collectors from engaging

          in abusive, deceptive and unfair practices, and (2) the FCRA 15 U.S.C. §1681 et seq.

       14. Upon belief and information, Plaintiff contends that many of these practices are

          widespread for some or all of the Defendants.

       15. Plaintiff contends that the Defendant(s) have violated such laws by repeatedly

          harassing Plaintiff in attempts to collect alleged debt.




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                                 FACTUAL ALLEGATIONS

       16. At all relevant times, Defendants were attempting to collect an alleged consumer debt

          from Plaintiff.

       17. The alleged debt arose out of transactions that were primarily for personal, family, or

          household purpose.

       18. Beginning around June 2013 and continuing to the present (February 2015),

          Defendant HAYT, its agents, employees and servants engaged in debt collecting

          activities seeking payment from Plaintiff.

       19. In an attempt to collect a debt, Defendants sent a dunning letter to Plaintiff dated June

          3, 2013 seeking and demanding payment of $13,339.77. See Attached as Exhibit A.

       20. On June 28, 2013, Plaintiff sent a certified letter to Defendants timely disputing the

          validity of the alleged debt and demanded validation. See Attached as Exhibit B.

       21. Defendants are not creditors of the Plaintiff as defined by 15 U.S.C. §1692a(4).

       22. Defendants did not validate and obtain verification of the alleged debt pursuant to

          FDCPA 15 U.S.C. §1692g(b).

       23. Around August 2, 2013, Defendant HAYT filed a lawsuit ("Civil Complaint") against

          Plaintiff in an attempt to collect the alleged debt.

       24. In the Civil Complaint, HAYT and the debt collector KENNETH HAYES postured

          themselves as attorneys retained by an alleged creditor of Plaintiff, named Capital

          One Bank (USA), N.A. (hereinafter "Capital One").

       25. The Civil Complaint was filed in the Salem County New Jersey Superior Court

           Special Civil Part Docket No: DC-001106-13, seeking a judgment award of




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          $13,339.77. See Attached as Exhibit C, a true and correct copy of Defendant's

          complaint.

       26. Defendants, together and/or separately, created the appearance in the Civil Complaint

          and on public record the appearance of Plaintiff's creditor, Capitol One, having sued

          the Plaintiff for a balance outstanding on the creditor's account.

       27. The Civil Complaint was signed by KENNETH HAYES.

       28. The Civil Complaint was not signed by Capital One and was not verified by Capitol

          One.

       29. On September 3, 2013, Plaintiff filed a "Notice of Dispute of Debt" into the Salem

          County New Jersey Superior Court record. See Attached as Exhibit D.

       30. Defendants continued collection efforts against Plaintiff even after having received

          Plaintiffs June 28, 2013 validation demand and Plaintiff's September 3, 2013

          ''Notice of Dispute of Debt".

       31. Despite Plaintiffs dispute of the alleged debt and demand for validation and despite

          Defendants' failure to provide debt validation and obtain verification, Defendants

          continued to attempt to collect the alleged debt.

       32. Defendants represented to Plaintiff that they were attorneys for alleged client Capital

          One.

       33. Defendants represented to Plaintiff that the alleged debt had been assigned away from

          Capitol One.

       34. Defendants represented to Plaintiff that Capitol One is an Assignor of the alleged

          debt, i.e. an Assignor being one who has assigned the debt to someone else.




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           35. Defendant CHRISTOPHER J. FOX an attorney of HAYT started appearing at

                hearings regarding the Civil Complaint [Docket No: DC-001106-13] around June,

                2014, thereby attempting to collect a debt from Plaintiff which was in dispute.

           36. Defendant CHRISTOPHER J. FOX continued collection efforts against Plaintiff

                despite Plaintiff's validation demands, Plaintiff's "Notice of Dispute of Debt" and

                Defendant(s)'failure to provide debt validation and obtain verification.

           37. On June 5, 2014, Plaintiff obtained his consumer credit report from the Credit

                Reporting Agency (CRA) Experian to view Plaintiff's consumer credit report.

           38. Plaintiff discovered after examination of his Experian consumer credit report that on

                June 11, 2013, Defendant HAYT illegally, without lawful authorization to do so,

                obtained Plaintiff's consumer credit report (i.e. pulled his credit) from the Credit

                Reporting Agency (CRA) Experian without permissible purpose.

           39. The order of events are as follows:

                      (a) June 3, 2013: Defendants sent dunning letter to Plaintiff dated June 3, 2013.

                      (b) June 11, 2013: Defendants obtained Plaintiff's consumer credit report without

                         permissible purpose.

                      (c) June 28, 2013: Plaintiff sent certified dispute/ validation letter to Defendant.

                      (d) August 2, 2013: Defendants filed lawsuit ("Civil Complaint") against

                         Plaintiff.

                      (e) September 3, 2013: Plaintiff' filed "Notice of Dispute of Debt" into the

                         record.

           40. Plaintiff notified the Defendants of their violations by certified letter dated June 19,

                2014 in an attempt to mitigate his damages and obtain settlement prior to Plaintiff



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          bringing this action. Plaintiff sent a second certified letter dated June 23, 2014.

          Defendant(s) refused to settle. See Attached as Exhibit E

       41. At no time did the Plaintiff give the Defendant HAYT permission to obtain his

          consumer credit report from any Credit Reporting Agency (CRA).

       42. Defendants invaded Plaintiffs personal and financial privacy by illegally obtaining

          Plaintiffs consumer credit report without permissible purpose.

       43. Plaintiff filed a dispute with the (CRA) Experian pursuant to FCRA 15 U.S.C. §1681.

                                           COUNTI
                        DEFENDANT VIOLATED §1692d OF THE
                      FAIR DEBT COLLECTION PRACTICES ACT

       44. Plaintiff alleges and incorporates the information in paragraphs 1 through 43.

       45. Defendants in its action to collect a debt violated numerous provisions of the FDCPA,

          including, but are not limited to, the following:

          a. Defendants violated 15 U.S.C. §1692d of the FDCPA by harassing Plaintiff in

              connection of an alleged debt, by engaging Plaintiff in stressful court proceedings

              under false pretenses in an attempt to collect a debt that was and is not verified or

              validated, and is not confirmed by any one as true and correct and presently

              outstanding.

          b. Misrepresenting the character of the alleged debt.

          c. Misrepresenting the status of the alleged debt as outstanding and owed to the

              creditor Capitol One when in fact the alleged debt was not outstanding and owed

              to Capitol One on an outstanding account owned by Capitol One.

          d. Misrepresenting the amount of the alleged debt and harassing the Plaintiff with

              these misrepresentations and conflicting/varied amounts of alleged debt, and

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              harassing Plaintiff with demands for payment of amounts that were neither

              consistent nor verified as correct.


                                           COUNT II
           DEFENDANT VIOLATED §1692e, 1692e(2) and 1692e(10) OF THE
                      FAIR DEBT COLLECTION PRACTICES ACT

       46. Defendants violated 15 U.S.C. §1692e of the FDCPA by using false, deceptive, or

          misleading representation or means within the collection of a debt;

       47. Defendants violated 15 U.S.C. §1692e(2) ofthe.FDCPA by falsely representing the

          character, amount, or legal status of any debt;

       48. Defendants violated 15 U.S.C. §1692e(10) of the FDCPA by using false

          representation or deceptive means to collect or attempt to collect any debt or to obtain

          information concerning a consumer.

                                                COUNTID
                       DEFENDANT VIOLATED §1692f and 1692f(l) OF THE
                          FAIR DEBT COLLECTION PRACTICES ACT

       49. Defendants violated 15 U.S.C. §1692f of the FDCPA by using unfair and

          unconscionable means with the Plaintiff to collect or attempt to collect a debt.

       50. It is unconscionable for Defendants to have fabricated the appearance of being

          attorneys of an alleged creditor of Plaintiff, and further fabricating a court action

          whereby it appeared to Plaintiff that a creditor of an outstanding account had sued

          him. Such activity constitutes unconscionable means in an attempt to collect an

          alleged debt.

       51. Defendants violated 15 U.S.C. §1692f(l) of the FDCPA by the collection of any

          amount (including any interest, fee, charge, or expense incidental to the principal


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           obligation) unless such amount is expressly authorized by the agreement creating the

           debt or permitted by law.

       52. Defendants do not possess, nor have they presented to Plaintiff, an agreement

           expressly authorizing or creating the alleged debt.

       53. An agreement, creating the alleged debt, does not exist.

                                                 COUNT IV
                             DEFENDANT VIOLATED §1692g(b) OF THE
                             FAIR DEBT COLLECTION PRACTICES ACT

        54. Defendants violated 15 U.S.C. §1692g(b) of the FDCPA by continued collection

           activity after receiving notice of dispute, and failed to provide written validation of

           debt before resuming collection activities.

        55. Defendants acted in an otherwise deceptive, unfair and unconscionable manner and

           failed to comply with the FDCPA.


    WHEREFORE, Plaintiff respectfully demands for judgment against Defendants as follows:

         a) All actual damages from each Defendant pursuant to 15 U.S.C. §1692 k(a)(l) for the

            emotional distress, humiliation, embarrassment, pain and suffering from numerous

            stress related gout attacks suffered as a result of the intentional and/ or negligent

            FDCPA violations for Plaintiff.

         b) Statutory damages of $1000.00 from each Defendant pursuant to 15 U.S.C. §1692

            k(a)(2)(A).

         c) All attorney's fees, witness fees, court cost and other litigation cost incurred by

            Plaintiff pursuant to 15 U.S.C. §1692 k(a)(3);




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         d) Injunctive relief barring Defendants from attempting to collect the alleged debt from

            Plaintiff at any time; and

         e) Any other relief deemed appropriate by this Honorable Court.



                                            COUNTV
       VIOLATION OF FAIR CREDIT REPORTING ACT (FCRA), 15 U.S.C. §1681

     WILLFUL NON-COMPLIANCE BY DEFENDANT HAYT, HAYT & LANDAU, LLC


        56. Plaintiff is a consumer within the meaning of the FCRA, 15 U.S.C. §1681a(c).

        57. Defendant HAYT, HAYT & LANDAU, LLC is a furnisher of information within the

           meaning of the FCRA, 15 U.S.C. §1681s-2.

        58. Experian is a consumer reporting agency within the meaning of the FCRA, 15 U.S.C.

           §1681a(f).

        59. Plaintiffs consumer credit report is a consumer report within the meaning of the

           FCRA, 15 U.S.C. §1681a(d).

        60. Defendant HAYT, HAYT & LANDAU, LLC willfully violated the FCRA.

           Defendant's violations include, but are not limited to, the following:

           a) Defendant HAYT, HAYT & LANDAU, LLC willfully violated 15 U.S.C.

           §1681 b(f) by obtaining Plaintiffs consumer report without a permissible purpose as

           defined by15 U.S.C. §1681b.

        61. Defendant's violations may also be criminal violations pursuant to 15 U.S.C.

            §1681q.

     WHEREFORE, Plaintiff respectfully demands for judgment against Defendants as follow:




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        a) For damages in the amount of $1,000 against Defendant HAYT, HAYT &

           LANDAU, LLC for actual or statutory damages,

        b) Attorney's fees, witness fees, court cost and other litigation cost incurred by Plaintiff

           pursuant to 15 U.S.C. §1681n.

        c) Injunctive relief barring Defendants from attempting to obtain any credit reports or

           personal information of Plaintiff at any time;

        d) Injunctive relief barring Defendants from reporting any information regarding

           Plaintiff at the Credit Reporting Agencies;

        e) Require Defendants to withdraw all information reported to the Credit Reporting

           Agencies regarding Plaintiff and to return to Plaintiff all reports Defendants have

           obtained, with disclosure as to all persons who have had access to said reports via

           Defendants (such as employees of Defendants or any other person who has viewed

            said reports as a result of Defendants having obtained such reports);

        t) Any other relief deemed appropriate by this Honorable Court.

                                            COUNT VI

       VIOLATION OF FAIR CREDIT REPORTING ACT (FCRA), 15 U.S.C. §1681

   NEGLIGENT NON-COMPLIANCE BY DEFENDANT HAYT, HAYT & LANDAU LLC


        62. Plaintiff is a consumer within the meaning of the FCRA, 15 U.S.C. §1681a(c).

        63. Defendant HAYT, HAYT & LANDAU, LLC is a furnisher of information within the

           meaning of the FCRA, 15 U.S.C. §1681s-2.

        64. Experian is a consumer reporting agency within the meaning of the FCRA, 15 U.S.C.

            §168la(t).




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        65. Plaintiff's consumer credit report is a consumer report within the meaning of the

               FCRA, 15 U.S.C. §168la(d).

         66. Defendant HAYT, HAYT & LANDAU, LLC negligently violated the FCRA.

        67. Defendant's violations include, but are not limited to, the following:

            a)     Defendant HAYT, HAYT & LANDAU LLC negligently violated 15 U.S.C.

               §1681b(f) by obtaining Plaintiff's consumer report without a permissible purpose as

               defined by 15 U.S.C. §168lb.


  WHEREFORE, Plaintiff respectfully demands for judgment against Defendants as follow:

          a)     For damages in the amount of $1,000 against Defendant HAYT, HAYT &

                 LANDAU LLC for actual or statutory damages.

          b) Attorney's fees, witness fees, court cost and other litigation cost incurred by

                 Plaintiff pursuant to 15 U.S.C. § 16810.

          c) Any other relief deemed appropriate by this Honorable Court.



                                  DEMAND FOR TRIAL BY JURY

         PLEASE TAKE NOTICE that Plaintiff hereby demands trial by jury.

         Respectfully submitted




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                                     VERIFICATION

  I verify with firsthand knowledge that the statements herein the foregoing "Complaint" are true

  and correct as to my own knowledge and are presented to this Court in good faith.




                                                                                        /




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